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 1                               UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
 2                                     EASTERN DIVISION
 3
 4
     UNITED STATES OF AMERICA,                   )
 5                                               )   CASE NO. 1:22-CR-0450
            Plaintiff,                           )
 6                                               )   SENIOR JUDGE CHRISTOPHER A. BOYKO
                    vs.                          )
 7                                               )
     MATTHEW J. TURNIPSEEDE,                     )    MOTION FOR LEAVE TO WITHDRAW
 8                                               )
            Defendant.                           )
 9                                               )
10          Pursuant to Local Criminal Rule 57.21, J. MICHAEL MURRAY, ESQUIRE, Berkman,
11   Gordon, Murray & DeVan, local counsel; and RICHARD A. WRIGHT, ESQUIRE, and RUSSELL
12   E. MARSH, ESQUIRE, Wright Marsh & Levy, admitted pro hac vice, hereby move this Court for
13   an Order allowing them and their firms to withdraw as counsel for Defendant Matthew Turnipseede,
14   and request that new counsel be appointed to represent Mr. Turnipseede.
15                                           BACKGROUND
16          On August 10, 2022, Matthew Turnipseede was indicted in this case. ECF No. 1. On August
17   22, 2022, Richard A. Wright and Russell E. Marsh of Wright Marsh & Levy in Las Vegas, Nevada,
18   were granted leave to appear pro hac vice in this case. ECF Nos. 2-3. J. Michael Murray of
19   Berkman, Gordon, Murray & DeVan has also appeared as local counsel in this case. These counsel
20   have represented Mr. Turipseede in this case in every matter since his initial appearance and
21   arraignment by video on September 8, 2022. ECF Nos. 5-8.
22          On November 22, 2024, Mr. Turnipseede pleaded guilty to several counts in this case,
23   pursuant to a Plea Agreement. ECF No. 23. On May 21, 2025, Mr. Turnipseede was sentenced by
24   the Court to 65 months of imprisonment. ECF No. 33. He is scheduled to self-report to the U.S.
25   Bureau of Prisons on August 19, 2025.
26          Mr. Turnipseede retained Mr. Marsh and Mr. Wright in Nevada in 2021, before the
27   commencement of this case, and he has remained a client of Wright Marsh & Levy since that time.
28   He also retained Mr. Murray to represent him as local counsel.
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 1           Following sentencing, on or about July 1, 2025, Mr. Turnipseede communicated with Mr.
 2   Marsh in writing that he wished to terminate the services of his firm. He indicated, among other
 3   things, that he wished to pursue a motion under 28 U.S.C. § 2255. Mr. Turnipseede also has
 4   questions about self-surrendering that counsel cannot fully advise him on given the breakdown in
 5   communication.
 6           Counsel have explained to Mr. Turnipseede that based on their understanding of the local
 7   rules, they must receive leave of court to withdraw from the case, and that Mr. Murray would also
 8   need to seek to withdraw. Counsel have also advised Mr. Turnipseede that, given his financial
 9   situation, he should seek appointment of counsel by the Court, either the Federal Public Defender
10   or CJA counsel, to assist him in the criminal case at least until he reports to prison. Mr. Turnipseede
11   asks that he be appointed new counsel.
12                                              ARGUMENT
13           Under Local Criminal Rule 57.21, attorneys of record “may not withdraw . . .without first
14   providing written notice to the client and all other parties and obtaining leave of court.” Counsel
15   have notified Mr. Turnipseede and government counsel, Assistant U.S. Attorney Erica Barnhill, that
16   they intend to seek leave to withdraw. The government has indicated that it takes no position
17   regarding this motion.
18           Under the circumstances, this Court should grant counsel the requested leave to withdraw.
19   Mr. Turnipseede has asked to terminate the relationship, and there is an obvious conflict of interest,
20   given the client’s expressed desire to file a 2255 motion. See Nevada Rules of Professional Conduct
21   (NRPC) 1.16(b) (regarding good cause for withdrawal).
22           Counsel also ask that, based on Mr. Turnipseede’s and his family’s present financial
23   situation, he be appointed counsel. Counsel understand that sufficient paperwork may be required,
24   and have reached out to the Federal Public Defender’s Office to coordinate with Mr. Turnipseede
25   on that.
26   ///
27   ///
28   ///


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 1                                            CONCLUSION
 2          For the reasons set forth herein, retained counsel request that they and their firms be allowed
 3   to withdraw as counsel in this case, and that counsel be appointed for Mr. Turnipseede.
 4          Dated July 11, 2025
 5                                                 Respectfully submitted,
 6                                                 WRIGHT MARSH & LEVY
 7
                                                   BY      /s/ Russell E. Marsh
 8                                                      RICHARD A. WRIGHT, ESQUIRE
                                                        RUSSELL E. MARSH, ESQUIRE
 9                                                      300 S. Fourth Street
                                                        Suite 701
10                                                      Las Vegas, NV 89101
                                                        Phone: 702-382-4004
11                                                      Facsimile: 702-382-4800
                                                        rick@wmllawlv.com
12                                                      russ@wmllawlv.com
                                                        Pro Hac Vice Counsel Defendant Turnipseede
13
                                                   BERKMAN, GORDON, MURRAY & DEVAN
14
15                                                 BY      /s/ Michael Murray
                                                        J. MICHAEL MURRAY, ESQUIRE
16                                                      55 Public Square
                                                        Cleveland. OH 44113
17                                                      Phone: 216-781-5245
                                                        Facsimile: 216-781-8207
18                                                      jmmurray@bgmdlaw.com
                                                        Local Counsel for Defendant Turnipseede
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 1                                   CERTIFICATE OF SERVICE
 2            I HEREBY CERTIFY that on the 11th day of July, 2025, I caused a copy of the foregoing
 3   MOTION FOR LEAVE TO WITHDRAW to be served via the Court’s CM/ECF electronic filing
 4   system addressed to all parties on the e-service list. A copy was also served on Mr. Turnipseede by
 5   mail.
 6
 7                                                BY /s/ Debbie Caroselli
                                                    An employee of Wright Marsh & Levy
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